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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF LOUISIANA
                                     LAFAYETTE DIVISION

 TOTAL REBUILD, INC.,                §
                                     § Civil Action No. 6:15-cv-01855-RFD-CBW
             Plaintiff,              §
                                     §
 vs.                                 §
                                     §
 PHC FLUID POWER, L.L.C.             §     JUDGE BRIAN A. JACKSON
                                     §
                                     §
             Defendant.              §
 ____________________________________________________________________________

     PLAINTIFF TOTAL REBUILD INC.'S THIRD SUPPLEMENTAL DISCLOSURE OF
     ASSERTED CLAIMS AND PRELIMINARY INFRINGEMENT CONTENTIONS AND
                  ACCOMPANYING DOCUMENT PRODUCTION


        Pursuant to Scheduling Order (Doc. 50), and the Parties agreed upon compliance with a

 modified version of the Patent Rules as set forth under the Local Rules of the United States District

 Court for the Eastern District of Texas for patent specific deadlines (“P.R.”), Plaintiff Total Rebuild,

 Inc. (“Total”) provides its Third Supplemental Disclosure of Asserted Claims and Supplemental

 Infringement Contentions and Accompanying Document Production against PHC Fluid Power, L.L.C.

 (“PHC”) in this action.

        Total reserves the right to supplement these Infringement Contentions, including the list of

 accused products and services, based upon any further discovery and a review of devices by Total’s

 expert. Further, Total may amend or supplement any of these disclosures and contentions in view of

 any claim construction ruling(s) issued by the Court or any position taken by PHC in this action,

 pursuant to P.R. 3-7. Total, therefore, expressly reserves the right to amend or supplement its

 identification of asserted claims, accused instrumentalities, and priority dates, as well as its claim

 charts, based on further investigation and discovery.
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    I.      SUPPLEMENTAL IDENTIFICATION OF INFRINGED CLAIMS AND ACCUSED
            INSTRUMENTALITIES PURSUANT TO P. R. 3-1 (A) AND (B)

 A. U.S. Patent Number 8,146,428 B2

                1. P.R. 3-1(a) – Infringed Claims

         Total presently contends that PHC infringes claims 3-5, 11-15, and 18-19 of U.S. Patent No.

 8,146,428 B2 (“the ’428 Patent”) based on Total’s understanding of the information currently available

 to Total regarding PHC’s Accused Instrumentalities identified below.

                2. P.R. 3-1(b) – Accused Instrumentalities

         Total presently identifies the following PHC products as “Accused Instrumentalities” under all

 applicable subsections of 35 U.S.C. § 271 with respect to the respective asserted claims: PHC-TB-15-

 W-ATV4-GSF100-ASF150-DL-1 sold to Baker Hughes Oilfield Operations, Inc.; PHC-TB-23-W-

 ATV4-HSF202-RV-RC sold to Cameron, Inc.; PHC-TB-23-W-ATV4-HSF202-4RC sold to GE Oil &

 Gas Pressure Control, LP; PHC-TB-15-W-ATV4-GSF100-ASF150-AGT62-152-RC sold to Baker

 Hughes Oilfield Operations, Inc.; PHC-TB-15-W-ASFB22-HSF202-RC sold to Cameron, Inc.; PHC-

 TB-30-W-ASF100-HSF302-RC sold to Cameron, Inc.; PHC-TB-20-W-ATV4-HSF202-RC sold to GE

 Oil & Gas Pressure Control, LP. Such Accused Instrumentalities being made, used, rented, offered for

 sale, or sold in, or imported into, the United States since the ‘428 patent issued, including all services

 supporting such PHC products, such as unit repair services, training services, support services, and

 implementation and customization services. These identifications are based on a preliminary

 understanding of information currently available to Total and upon the disclosures made by PHC

 during ongoing discovery, and Total reserves the right to supplement these identifications and claim

 chart as discovery proceeds.
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           As PHC’s disclosure of documents and things is incomplete and subject to Total’s pending

 motion to compel electronic discovery [Dkt. 156], such Accused Instrumentalities may further extend

 to additional PHC’s systems. Total reserves the right to supplement the identifications and claim chart

 to include such units as discovery proceeds.

    II.       SUPPLEMENTAL CHART IDENTIFYING CLAIM ELEMENTS                                     WITHIN
              ACCUSED INSTRUMENTALITIES PURSUANT TO P. R. 3-1(C)

           Total provides a chart, attached as Exhibit A, which identifies where each limitation of each

 asserted claim is found in representative proof for each of the Accused Instrumentalities. The first

 column of each chart recites the limitations of the asserted claim verbatim. The second column shows

 an example of where a corresponding element is found in representative proof for each of the Accused

 Instrumentalities. These identifications are based on a preliminary understanding of information

 currently available to Total, and Total reserves the right to supplement these charts as discovery

 proceeds.

    III.      SUPPLEMENTAL LITERAL INFRINGEMENT AND INFRINGEMENT UNDER
              THE DOCTRINE OF EQUIVALENTS PURSUANT TO P. R. 3-1(D)

           Total presently contends that the PHC Accused Instrumentalities literally infringe the asserted

 claims of the ‘428 Patent. Nevertheless, with respect to any claim element or limitation that may be

 found not to be literally embodied in the Accused Instrumentalities, Total contends in the alternative

 that the Accused Instrumentalities embody such claim elements or limitations under the doctrine of

 equivalents and that any claim element or limitation not found to be literally met is equivalently met

 because any difference between the claim element or limitation and the Accused Instrumentalities is

 not a substantial difference. Accordingly, Total contends that any asserted claim which the Accused

 Instrumentalities are not found to be embodied literally is nevertheless embodied by the Accused
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 Instrumentalities under the doctrine of equivalents under an operative doctrine of equivalents test, e.g.,

 function- way-result or insubstantial differences tests.

    IV.      SUPPLEMENTAL DISCLOSURE PURSUANT TO P. R. 3-1(F)

          Based on presently available information and current analysis, Total identifies the following

 Total products (at least as to certain members of the family of products) as products that practice at

 least one or more of the asserted claims of the ‘428 Patent since its priority date of Aug. 8, 2008: the

 Total “Patented Safety Test System” product, which practices, incorporates, or reflects Claims 3-5 and

 11-15. Further, Total offers high pressure testing services which practice, incorporate, and reflect

 Claims 18-19. See Total’s web page at: http://totalrebuild.com/.

          Total’s response is based on information currently known to Total and is without prejudice to

 Total’s right to supplement its response during the course of litigation.



                                               Respectfully submitted,

                                               /s/ Chase A. Manuel________________
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on this, the 10th day of December, 2018, a copy of Plaintiff’s Supplemental

 Disclosure Of Asserted Claims And Preliminary Infringement Contentions And Accompanying

 Document Production was delivered upon counsel of record for PHC Fluid Power, L.L.C via electronic

 mail.



                               _________/s/ Chase A. Manuel__________
                                          Chase A. Manuel
